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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

RONNIE PIERCE, AND                        §
CASAS DE LOS INDIOS, L.P.                 §
                                          §
V.                                        §      CIVIL ACTION NO. 4:17-CV-01413
                                          §
THE STANDARD FIRE INSURANCE               §
COMPANY                                   §

                   DEFENDANT’S NOTICE OF REMOVAL
               EXHIBIT C: COPIES OF PLEADINGS ASSERTING
         CAUSES OF ACTION AND ALL ANSWERS TO SUCH PLEADINGS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW, The Standard Fire Insurance Company, the defendant in the

above entitled and numbered cause, and files copies of all pleadings asserting causes

of action and all answers to such pleadings as required by Local Rule 81.2.
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                               CAUSE NO. 17-DCV-240631

RONNIE PIERCE, AND                         §             IN THE DISTRICT COURT OF
CASAS DE LOS INDIOS, L.P.                  §
                                           §
V.                                         §             FORT BEND COUNTY, TEXAS
                                           §
THE STANDARD FIRE INSURANCE                §
COMPANY                                    §             240TH JUDICIAL DISTRICT

                          DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, The Standard Fire Insurance Company, defendant in the above

entitled and numbered cause, and files this its original answer to the plaintiffs’ original

petition on file herein, and in support thereof would respectfully show the Court as follows:

                                                I.
       The defendant hereby generally denies the allegations contained in the plaintiffs’

petition on file herein pursuant to Rule 92 of the Texas Rules of Civil Procedure, and thus

asserts its privilege of insisting that such allegations be proven by a preponderance of

credible evidence.

                                               II.
       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, the defendant

notifies all parties to this lawsuit of the defendant’s intent to introduce as evidence at any

pretrial proceeding or at trial any document produced by any party in discovery in this

lawsuit.

                                               III.

       The defendant specifically reserves the right to amend its answer to plead any

affirmative defenses or other matters that must be specially pled and to assert any

counterclaims or third-party claims it may have after discovery in this case is complete.
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       WHEREFORE, PREMISES CONSIDERED, defendant, The Standard Fire

Insurance Company, moves and prays the Court that upon trial hereof, the plaintiffs

recover nothing, and that the defendant go hence with its costs, and for such other and

further relief, both general and special, legal and equitable, to which defendant may show

itself justly entitled to receive.

                                                   Respectfully submitted,

                                                   ORGAIN BELL & TUCKER, LLP
                                                   P O Box 1751
                                                   Beaumont, TX 77704-1751
                                                   (409) 838-6412
                                                   (409) 838-6959 facsimile

                                                   /s/ Greg C. Wilkins
                                                   Greg C. Wilkins
                                                   State Bar No. 00797669
                                                   gcw@obt.com
                                                   Warren B. Wise
                                                   State Bar No. 24075299
                                                   wwise@obt.com

                                                   ATTORNEYS FOR DEFENDANT,
                                                   THE STANDARD FIRE INSURANCE
                                                   COMPANY



                                     CERTIFICATE OF SERVICE

        I do hereby certify that on the 8th day of May, 2017, I electronically filed the
foregoing with the Fort Bend County District Clerk via eFile Texas which will send
notification of such filing to each counsel of record.

                                                   /s/ Greg C. Wilkins
                                                    Greg C. Wilkins




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